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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________

CHARLES RICE                  :    22 – cv -
    Petitioner,               :
 v.                           :
                              :
TOM McGINLEY,                 :
    Sup’t SCI Coal Twp.       :
    Respondent.               :
                              :
                              :
_________________________

          APPENDIX TO PETITIONER’S PETITION FOR A
         WRIT OF HABEAS CORPUS AND CONSOLIDATED
       MEMORANDUM OF LAW, PURSUANT TO 28 U.S.C. §2254


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Counsel for Petitioner
Charles Rice

Dated: December 21, 2022
Philadelphia, PA
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  *This memo is to be emailed to the Unit Chief. It should never be
                        placed in trial file.




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                                                                      CR (DAO) 000004
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        Rice/Linder

        This shooting: 9/25/2011 at 9:35 p.m.
                      • Two defendants (CJ Rice and Tyler Linder)
                      • Four Victims
                             o Denean Thomas (6 years old-passed away)
                             o Khalief Ladson (not cooperating)
                             o Latoya Lane (23 years old-told detectives that she saw two
                                males, but could only ID the male she was looking at-Tyler
                                Linder)
                             o Latrice Johnson (35 years old- told detectives that she saw two
                                males, but could only ID the male she was looking at-Charles




                                        PY
                                Rice)

        Additional facts: Victims could not tell the police at the scene who did the shooting. At
        the hospital a day later both victims gave a statement ID'ing the defendants. Both
        victims have known the defendants for a long time. Officers recover FCC' s at the scene.

        Motive:
                                       O
        On 9/3/2011, defendant Rice was riding his bike with Linder when a vehicle pulled up
        and opened fire. Rice was hit in the hip and butt.
               • Sole Suspect: Khalief Ladson
               • Rice, Linder, Ladson all refused to cooperate
               • 5 th Street v ih Street
                           C
        Problems:

               •    ID-victims both can ID only one of the two defendants and they do not tell
                    police/nurses immediately who shot them
         R

               •    Rice is going to have a doctor testify that he could not have done the shooting,
                    because of his prior gunshot wounds. Other medical evidence can used to
                    disprove that. Rice's alibi witnesses have never cooperated with our office.
C


        Alibi issues: BIG PROBLEM for Tyler Linder

               •    On 9/27/2011: Tyler Linder gave a statement to Detective Johnson saying
                    that he was working for his mom at the time of the shooting
               •    On 9/27/2011: Tyler Linder' s mom gave a statement to Detective Vega
                    concerning his son's whereabouts at the time of the shooting. (says that they
                    got home around 11 :00 p.m.)
               •    On 9/27/2011: Tyler Linder's mom gave a second statement to Detective
                    Vega after they viewed the video of the store.
               •    On 9/27/2011: Tyler Linder's little brother gave a statement to Detective
                    Spadaccini.




                                                                                           CR (DAO) 000005
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      University of Pennsylvania Health System
                      EMTRAC
             Electronic Patient Record
(Original record archived in UPHS dedpanment of Emergency Medicine)

  Hospital of the University of Pennsylvania
                                                                                                           PP tel:
       Emergency Medicine Department

Emergency Medicine Department
    1-Attending
       09/25 22:55 David Lambert MD




                                                                 PY
           09/25 ll:55 -

           I supervised care, housestaff, and any procedures. I perfonned a history and physica1 on the patient. I spoke with the
           housestaff and discussed their history, physical examination. assessment, and plan and agree with them. I reviewed the
           housestaft's note and agree with the documented findings and plan of care.

           Briefly.-;> 1bis is, •  di c/o multiple GSWs to BIL lower extremities immediately pta Pt arrived ambulatory. She
           denies numbness/weakness to feet or significant swelling. Details of shooting are unclear. Pt reports sitting on porch, heard
           shots then felt wounds. No other injuries or c/o.

           PMHx/PSHx/SHx/FHx/Meds- as per HPI/HO/triage notes (reviewed)




           vs reviewed
                                            O
           ROS -> ns per HPI, o/w negative in detail

           OnExarn->

           gen: well appearing in no distress, aaox3
           ext: pulses equal x4 ,no cce, mae x4, soft compartments ble's
           neuro: nonfocal
                       C
           skin: multiple small 3-5mm gsw wounds to b/1 lower ext w/ good palpable pulses no active bleeding, palpable shrapnel in
           various wounds

           Severity:
           Moderate

           IMP:
           Multiple GSW's

           Dispo:
R

           Pending - pt signed out to oncoming MD at 11pm
           Trauma consult obtained and pt seen along w/ Dr. Kim
           09/lS 22:55 Discharge condition
           Stable
      09/2811:34 Robert Neumar MD
           09/28 11 :34 ~


          ---with
C


           Assumed care from Dr. Lambert at 2300 shift c~ge. Case discussed and chart reviewed.

                               multiple skin wounds to lower extremities associated with gunshots. Differential includes shotgun wounds
           vs. flying debris. T-surg consulted Plan ABis, x•rays, tetanus booster, wound management

           Re-eval: Pt resting comfortably on stretcher. States she was sitting on front porch, heard shooting, ran into house and felt
           buring iJl her legs. Note multiple would both lower e)(tremities. Denies other injuries. Denies sensory or motor dysfunction.
           Ambulating without difficulty.

           Multiple 2-3 mm wowtd in bilateral lower extremities. Full ROM withoutb pain. No sensoiy or motor disfunction.

           X-tays; No fx or forei.ng bodies detected.

 Final chart on 09/Jfl/2011                                           Page 2 out of 7                                CR (DAO) 001098
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        First Judicial District of Pennsylvania

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                                     .   '   .   . .                     .

                                     Charles Rice




               Preliminary Hearing Volume I
                     December 09, 2011




                          Court R~portlng Sy$t~m




             First Judicial District of Penmylvania
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 (   .;,.                                                                                                                                                       ·=:,: · 4·1 !,t:r l)t;, ~HI ~



  '11 Q Cm you tell the Judge either by name,                                          [1 ] old. As I'm sitting on the step -- actually, I
    . point of finger who that person is?                                              [2] ordered food, and we were waiting for the food to
  [3]    A Ri ght !v:R, with the blue hoodic .                                         [3] b..: ddivercd , so we wcrt' stall in~ w;iiting fo r the
  [4)              MR. BOYD: Indicating for the                                        [4J deli wry man. So I noticed these two guys com e
  [5]     record, Charles Rice. I'm sorry, the one                                     [5] out of Fernan Street•·
  (6)     farthest away from me?                                                       [6)    Q     When you say com e out, arc yo u
  [7]                       THE WITNESS : Yes.                                         [7) talking -
  15\ 1                   ~rR. 1:1nvn. }nditatirg ~1he                                 '"'    A Comi"g~w~rdi vs
  [HJ          (1:!CorJ. tile· WIUIL'S~ 1d..:111it1cd, J lidi1:-V<:                     tUJ   ~ '. \Vha:·s Ille 01h1::r st reel 1111 the othLCr L' lli.l
 (101            ('harks Rice.                                                         110] of Fcrnon'1
                                                                                              If'. §cv~-tk Slru:f .A-J-H,f ~
 (12)    Q What happened on that day that brings                                       ["12] lik1:: diagonal across from us and just started
 [13) you to coL111·> Tell the Judge what happened.                                    [1 3] shooting. It was two guys, one had a gray huodie,
 [14]    A I was sitting on my mother's step, and I                                    [14] one had a black hoodie. But_this guy, C.J. is the
 [15] was fac ing li ke towards, it was a small street                                 [15] one l noticed because I'm facing right towards
 l16] right here, Fcrnon Street -·                                                     [16J him -·
 [17)                MR. BOYD: Indicating for the                                      [17]                  THE COURT: Who is C.J ?
 ["I 8]    rec on.I to the lett of the witness.                                        (1 8)                 THE WITNESS: Charles Rice.
 [HJ] BY MR. BOYD:                                                                     [19)                  THE COURT: You're saying
 ['.!LI] Q liu ahead.                                                                  l2UJ         yuu'rl' kill i11g time waiti ng li.ir food ,
 1211    A Yes. So I'm preparing to mke my                                             [21]         correct?
 !22] children horn<.:, but my niece came out the h.ouse                               [22]                  THE WITNESS : Yes .
 [23) crying. She wanted my mother, who .had j ust left. ·                             [23]                  THE COURT: And these
 [24)    Q Which niece are you talking about?                                          [24)         individuals, the one you identified as
 [.!SJ   A I;m talking about Denean, the six ye_ar                                     [.!5]        Rice, came diagonally across fro m the


                                                                          Page 11                                                                                           Page 12
  l1J       ho use you were in?                                                         [1]        Q When they were shooting at you, where is
   (2] .: .         THE WITNESS : Y{:s; ···.                                               [2] Dene.in?- · · ·- -· ·-· -·· ·
.. [3) . ·-     . . THE COURT: And did.what?- ............. .                              [3]     A AH the chi ldren were right here next to
  14]                       THE WITNESS: I was sitting on                                  [4] me.
- l5l···--· thc.step,.and l'm.fac.ing to:wards-them, and ........ •- ··             ·•· - {&)      Q When you-say all thediildren, I know,
  [6J          they just started shooting .                                                [6] let's just go through, Denean, the six year old
  [71 BY MR. BOYD:                                                                         [71 was next to you?
  [8]        Q          Before I go any further, are they on the                           [8]     A Yes. Only un the step next to me was
  [9] same s ide of the street as you or on the opposite                                   [9) Denean. Khiya, my five year old, Ky icr, my seven
 I101s id.:?                                                                             [10] y.:ar old am! Kalif.
 [11 J    A The opposite side of the street.                                             [1 1]      Q And that's your 17 year old?
 [1 2]    Q Are they on Fernan Street or actually on                                     [12)       A Yes.
 [·13) the sidewalk of the comer of Fern on -·                                           [13]       Q At least at the time?
 [14]     A On the comer. It's a school step right                                       (1 4]      A Yes.
 [1 5) there, so they're right next to the school steps.                                 [15)       Q Where was your stepda ughter. Latoya?
 [1 6)    Q And you said they started shooting?                                          [16]       A She had walked across the street. It's
 [1 7]     A Yes.                                                                        [17] like a basketb,il l court.
 [ 18]    Q Can yo u identify the other person or no?                                     [18]      Q Across the street is there a school or
 [1 9]     A No.                                                                         [19] i.:hurch of some sort right across the street with
 [20]     Q Did you see both C.J. or Charles shoot                                       [20] the basketball court?
 [2 1J as well as the other person?                                                      121]       A School steps. yes.
 [22]      A Yes.                                                                        [22]       Q Wus she ai.:ross the street when the
 '"l]    Q Do you know bow many shots you he.ird                                         [23) shouting starti.:d?
    , tota l bi.:twcen the twu?                                                           [24)      A Yt:s.
 [25]     A No.                                                                          [25]       Q Did ym1ever see her come back tu your


 Sherri Benson, O.C.R                                                 Court Reporting System                                                                         3 (page 9 - 12)
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